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          In the United States Court of Federal Claims
                                          No. 21-1685C
                                   (Filed: September 4, 2024)

                                             )
 SERGENT’S MECHANICAL                        )
 SYSTEMS, INC.,                              )
                                             )
                      Plaintiff,             )
          v.                                 )
                                             )
 THE UNITED STATES,                          )
                                             )
                      Defendant.             )
                                             )

Joshua Sather, Whitcomb, Selinsky, P.C., Denver, CO, for Plaintiff.

Matthew J. Carhart, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, D.C., for Defendant. With him on the briefs were
Brian M. Boynton, Principal Deputy Assistant Attorney General, Patricia M. McCarthy,
Director, Deborah A. Bynum, Assistant Director. Also on the briefs were Kathleen Ramos,
Staff Attorney, Office of General Counsel, Department of Veterans Affairs.

                                   OPINION AND ORDER

SOLOMSON, Judge.

       Plaintiff, Sergent’s Mechanical Systems, Inc. (“Sergent”), had a building-repair
contract with Defendant, the United States, acting by and through the Department of
Veterans Affairs (“VA”). The government terminated the contract for default. Sergent
sued the government pursuant to the Contract Disputes Act (“CDA”), asserting that any
default should be excused due to various government actions and directives that
interfered with Sergent’s performance. The government counters that Sergent’s
performance was materially deficient and incurably far behind schedule, in violation of
the contract, and thus the government properly terminated Sergent for default. The
material facts are not in dispute and the parties properly have cross-moved for summary
judgment. The case turns on the interpretation of the contractual terms at issue — a
question of law.

      As explained below, the Court finds that Sergent’s default for failure to make
progress was inexcusable. In essence, Sergent engaged in anticipatory repudiation,
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telling the government that Sergent would be unable to complete its work on time due to
what the undisputed facts demonstrate were its own shortcomings in performance.
Furthermore, the government is entitled to summary judgment on Sergent’s claim for
additional costs because Sergent had the contractual responsibility to deal with the
particular obstacles and work that form the basis of Sergent’s claim.

I.     Factual Background 1

       On or about June 30, 2020, the VA contracted with Sergent for repairs at the C.W.
Bill Young Medical Center in Bay Pines, FL. ECF No. 51-1 (“Pl. App’x”) at 5. 2 Per the
contract, the government promised to pay Sergent $3,889,875.46 for “resolv[ing] certain
heating, ventilation, and air conditioning (‘HVAC’) issues” at the hospital. ECF No. 12
(“Compl.”) ¶ 15. On August 18, 2020, the VA issued a Notice to Proceed to Sergent with
a completion date of August 17, 2021. Pl. App’x at 1073. 3 Three complications arose soon
thereafter, which ultimately resulted in the government’s terminating the contract for
default, and, ultimately, this litigation.

       A. Cooling Coils

        The contract included work the contractor would have to do to replace cooling
coils in air conditioning units (“ACUs”). See Pl. App’x at 885-87, 1056-57. One contract
specification required Sergent to “[f]ield measure existing cooling coils in existing air
handling units and provide replacement coils with the scheduled performance and
specified construction” and directed Sergent to “[r]efer to Drawings and Section 23 82 16,
AIR COILS for additional coil requirements.” Id. at 885-86. Another specification
required those cooling coils (also referred to as tubes, or cooling-coil tubes) to be a
minimum diameter of 5/8 of an inch. Id. at 1056. Finally, an addendum to the
specifications, entitled “COIL PERFORMANCE DATA (IF APPLICABLE)” featured data
sheets from June 2009 with information on the ACUs in use prior to the construction effort
at issue in this case. Id. at 963-1053. The specification with the more general instructions
regarding cooling-coil replacement also required Sergent to furnish submittals “for all air
handling units covered in the project” including information regarding “[c]ooling coil


1 The facts contained in this section are undisputed.

2 Both parties submitted appendices to their motions for summary judgment.     See ECF Nos. 51-
52. Throughout this opinion, the Court generally cites to Sergent’s appendix. The page numbers
for citations to both appendices refer to the automatically generated ECF page numbers in the
top-right corner of each page of the PDF document. Page numbers for citations to the parties’
briefs, however, refer to the party-generated numbers on the bottom of each page.
3 Sergent’s complaint lists the scheduled completion date as “August 16, 2020.” Compl. ¶ 19. The

Court understands that the year noted in the complaint is a typographical error. Moreover, none
of the parties’ arguments turn on whether the precise completion date is August 16 or 17, 2021.


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construction details and performance data” and “[e]xisting air handling unit
manufacturers recommended procedure for cooling coil replacement.” Id. at 885-86. It
further warned that “[p]artial and incomplete submissions shall be rejected without
reviews.” Id. at 885.

       On August 18, 2020, Sergent submitted for VA approval a proposed purchase of
at least “some” half-inch diameter cooling coils for ACU repairs pursuant to
“specification section and paragraph [number] 23 82 16-1/1.4[.]” Id. at 1077-78. On
August 20, 2020, the VA rejected Sergent’s initial submittal, on the basis that the half-inch
diameter coils were the wrong size. Id. at 1076. Sergent responded later that same day
with a Request for Information (“RFI”) concerning the disapproval. Id. at 1074. In the
RFI, Sergent’s project manager noted:

              Section 23 73 00 has the exact coil requirements coil by
              coil. . . . Section 23 82 16 somewhat contradicts Section 23 73
              00 in that i[t] seems to state the tubes must be 5/8” only. We
              really need to stick with the Section 23 73 00 Coil Data sheet
              requirements so we can provide exact coil replacements as is
              the intent of the contract so the coils will fit in the existing air
              handlers. Please allow 1/2” as per the attached Section 23 73
              00 Coil Performance Data Sheets.

Id.

       On August 24, 2020, Sergent transmitted yet another submittal to the VA for
review, addressing the “Review Comments from [the] original submittal,” revising the
field dimensions of the coils to, and listing all proposed coils to be installed as, 5/8 of an
inch. Pl. App’x at 1081. Before receiving a response to its second submittal, Sergent
submitted a second RFI on August 28, 2020, reiterating that

              [t]here seems to be a discrepancy between the cooling coils
              . . . specified in Section 23 73 00 and those called for on sheet
              M601        Air    Handling     Unit    Schedule.     Our     coil
              [supplier] . . . and Sergents have provided coil submittals that
              conform to section 23 73 00. However, we assume that our
              [submittal] has been disapproved based on the capacities
              listed on plan M601. Unfortunately . . . , the specifications
              and plans conflict with each other. The plans require coils
              with increase[d] capacity over what is required by the
              specifications. In order to achieve the increasing capacities,
              the coils must be changed resulting in the use of more copper
              at a substantial cost increase. It is my understanding that the
              specifications override the plans. Attached are the reviewed


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               coil submittal, Specification Section 23 73 00, and
               M601. Please advise if you like us to provide the cooling
               [coils] per the specification or the plans. This information is
               urgent if we are to meet the October start date for the coil
               replacements required by the contract.

Id. at 1083. A representative of the VA’s contracting officer replied on September 1, to
clarify how to read the contract:

               The required coils and their . . . performance requirements
               are scheduled on the drawings dated November 2, 2018. The
               information [Sergent] considered to be conflicting (coil data
               sheets) is not part of section 23 73 00, due to it being placed
               after the end of the spec[ifications] section. Section 23 73 00
               says to provide coils with “scheduled” performance and does
               not refer to the coil data sheets.

Id. at 1084.

        On August 25, 2020, Sergent’s second submittal was disapproved for several
reasons, all of which were seemingly unrelated to those in the first submittal’s
disapproval. Pl. App’x at 1079-80. On September 3, 2020, Sergent transmitted to the VA
“Submittal #23 92 16-2.1 – Revised Cooling Coils per the VA Direction,” id. at 1085-86,
which the VA designated “REVIEWED EXCEPTIONS NOTED” 4 on September 9, 2020.
Id. at 1087-88. In explaining the VA’s exceptions, the the VA’s engineering consultant
summarized Sergent’s perceived discrepancies between different contract specifications:

               The transmittal states that this submittal contains coils with
               increased capacity above and beyond what is in the contract
               documents and that this was done per directions by the VA.
               The VA has told us that they did not direct the Contractor to
               size the coils with increase[d] capacity, therefore, this review
               is based on the scheduled capacities in the contract
               documents.

Id.


4 “REVIEWED EXCEPTIONS NOTED” does not indicate disapproval of the submittal.                  Rather,
items marked as such “do not need to be resubmitted. It is the responsibility of the manufacturer,
vendor, and contractor to ensure that items noted below are corrected and that products delivered
to site meet design intent and specifications. Items delivered to site in violation of notes provided
below shall be condemned.” Pl. App’x at 1087.


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       Sergent submitted a Request for Equitable Adjustment (“REA”) to the government
on September 9, 2020, seeking $88,841.29 in extra compensation and a 60-day extension
for the project because of what Sergent called the “discrepancy regarding the 56
replacement cooling coil requirements between the drawings and the specifications.” Pl.
App’x at 1092. Specifically, Sergent argued that the VA’s responses to Sergent’s
submittals caused the increased costs because the VA told Sergent not to use specification
Section 23 73 00 even though that section contained what appeared to be “detailed
schedule information for the replacement cooling coils for each ACU” described “in very
fine detail.” Id. at 1092-93.

        On September 17, 2020, the VA denied the REA. See Pl. App’x at 1454-57. In doing
so, the VA’s contracting officer emphasized that specification section 23 73 00, which
Sergent identified as a source of confusion, included language directing Sergent to the
specifications containing information on required coil size. Id. at 1455. He further
criticized Sergent for misinterpreting extra-contractual information related to the coils as
an improper attempt to modify the contract’s plain language. See id. at 1456-57 (“The
information from Coil Manufacturer is irrelevant to this REA. As stated in the quote it
was provided 7/24/2020, twenty-four days after contract award. This quote and
subsequent misinterpretation on the contract has no bearing on the contract price as
accepted on 6/30/2020. . . . The inclusion of referenced contract clauses not contained
within in our contract and used in your REA presents an ill-considered approach to your
REA submission.”).

      On September 21, 2020, the VA approved Sergent’s September 3, 2020, submittal,
which incorporated the 5/8-inch diameter tubes and higher-capacity coils. Pl. App’x at
1085-86.

       B. Asbestos

       The contract required Sergent to “remove all asbestos containing and asbestos
contaminated materials indicated in these general notes, specifications, and as shown on
drawings, and dispose of as asbestos waste.” Pl. App’x at 131. Sergent also was
“responsible for field verifying the existing quantities and conditions of asbestos
containing and asbestos contaminated materials[.]” Id. On October 15, 2020,5 Sergent
inquired with the VA regarding the location of asbestos-containing materials (“ACM”) at
the Bay Pines Facility, and the VA allegedly responded that it “did not know the location




5 Sergent’s complaint describes several facts related to asbestos-containing materials as occurring

in October-November 2021. See Compl. ¶¶ 56-59. These appear to be typographical errors, as the
events described correspond to appendix documents from 2020. This Opinion and Order uses
corrected dates throughout. The parties do not dispute the dates on which these events occurred.


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of ACM.” Compl. ¶¶ 56-57. 6 Subsequently, on October 30, 2020, Sergent submitted an
RFI, asking, “Can you please tell us exactly where the 20 plus or minus elbows are
located[?] It is typical and within the normal standard of care to provide [abatement]
plans that provide exact locations and quantities.” Pl. App’x at 1460.

       On November 12, 2020, the VA’s lead general engineer sent several separate
messages responding to the RFI. The first indicated: “Each area of work will be evaluated
with a pre-construction risk assessment before commencement of work activities in that
area. Areas will be evaluated for the presence of asbestos at that time.” Pl. App’x at 1461.
Then, 15 minutes later, the engineer wrote: “As per spec[ification] section 02 82 11, 1.1.1,
any quantities of asbestos to be abated different than what is stated in the contract
documents will be brought to the attention of the Contracting Officer for resolution.” Id.
Sergent’s project manager followed up with the VA later that same day, asking if it would
be “the VA performing these ‘pre-construction [risk] assessment[s]’” and noting that he
“would like to have all the Mechanical rooms abated continuously until all the elbows
are abated.” Id.

       On November 18, 2020, Sergent acknowledged that “[a]s per the 11.13.20 Project
Meeting, the VA directed [Sergent] to get a proposal to perform a[n] asbestos site survey
and testing to determine exactly where the Asbestos is located.” Id. at 1461. 7 Contrary to
the government’s direction, Sergent did not produce such a survey. Instead, the VA
commissioned its own ACM survey from OHC Environmental Engineering, Inc.
(“OHC”), culminating in a December 8, 2020, report (“the First OHC Report”), which was
provided to Sergent on December 11, 2020. Pl. App’x at 1468-1516. Subsequently, on
December 22, 2020, Sergent submitted a proposal for ACM remediation based on the First
OHC Report’s findings, with a breakdown of estimated costs. Id. at 1578. Finally, on
January 5, 2021, the VA commissioned a second report from OHC, which it provided to
the VA on January 14, 2021. Pl. App’x at 1580-1648.

      Sergent alleges that “on multiple occasions, the VA declined Sergent’s offer to
remediate the ACM identified in the First OHC Report, assuring Sergent that the VA
would abate the ACM with their own local abatement contractor(s).” Compl. ¶ 71; see

6 Sergent’s “Weekly Project Meeting – Agenda and Notes” document from October 15, 2020, does

not reflect that the parties discussed the location of ACM or that the VA did not know where
ACM was located. See Pl. App’x at 1458-59. The government does not dispute, however, that
Sergent accurately represents what was discussed at the pertinent meeting. See Def. MSJ at 8
(citing to its own appendix, ECF No. 52-3 at 272-73, for project meeting agenda and notes). The
Court does not regard any potential dispute over this fact as material, in any event.
7 Sergent alleges that “in late November 2020, Sergent provided the VA with a proposal for an

asbestos site survey and test,” which the VA “verbally rejected.” Compl. ¶¶ 63-64. The
government neither disputes nor confirms this allegation. The Court finds it immaterial, given
the legal analysis infra.


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also ECF No. 51 (“Pl. MSJ”) at 7 (“The VA . . . assured Sergent that the VA would abate
ACM using its own abatement contractor.”).

        Sergent appears to have completed none of the asbestos-abatement work prior to
its termination for default in March 2021.

       C. ACU Outages

       The last source of alleged government-caused delay concerns limitations the
government imposed on ACU outages. Put simply, Sergent needed to turn off air
conditioning services intermittently in order to install new cooling coils for ACU repairs.
However, the VA imposed restrictions on when and for how long Sergent could turn off
air conditioning services during its work. Sergent alleges these restrictions improperly
impeded its work. See Pl. MSJ at 32-33.

       The parties do not dispute that outages are necessary and unavoidably occur “as
part of the process of installing cooling coils.” ECF No. 52 (“Def. MSJ”) at 31. The parties
further agree that, pursuant to the contract, Sergent had to seek the government’s
permission to turn off ACUs via “outage requests,” and that the VA retained discretion
to grant or decline the requests. Id. at 33-34 (citing Sergent representative’s deposition
testimony regarding how VA hospitals handle outage requests); see also Pl. App’x at 503
(“Electrical work shall be accomplished with all affected circuits or equipment de-
energized . . . Contractor shall submit a request to interrupt any such services to [the
contracting officer], in writing, 7 days in advance of proposed interruption.”).

        But the outages naturally had the negative effects of “[i]interrupting air
conditioning,” which “increased the temperature in occupied patient rooms, thereby
affecting patient care.” Def. MSJ at 31 (citing depositions from Sergent and government
officials). The VA therefore “imposed limitations on when,” and for how long, “these
outages could occur.” See id.; see also Pl. App’x at 1779-80 (CO’s supervisor explaining
impetus for outage restrictions). Moreover, the VA’s “engineering staff . . . developed a
procedure for replacing the cooling coils one air tunnel at a time which will not require
cooling shutdowns in excess of two hours.” Pl. App’x at 1778. Thus, on February 2, 2021,
the VA informed Sergent that it would be limited to three hours of ACU outages at a time,
with specific outages still requiring approval by the VA. Id. at 1777.

        Sergent complains that “[t]he 3-hour ACU outages the VA imposed precluded
Sergent’s ability to complete work on the ACUs within a single outage period, impeding
Sergent’s ability to make progress on this portion of the work.” Compl. ¶ 41. Moreover,
Sergent contends that “[t]he VA’s limitation of ACU outages to periods of no more than
3 hours was not contemplated in the Contract” and improperly “restricted Sergent’s
ability to complete the cooling coil replacement work by arbitrarily limiting the number
of outages Sergent would be granted.” Id. ¶¶ 42-43.


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       D. Termination for Default

        On February 19, 2021, the VA issued a cure notice to Sergent, informing it that the
VA considered Sergent delinquent on its work, “not fully prepared to engage in
additional work,” and non-compliant on several workmanship and safety standards. Pl.
App’x at 1660-61. Among the VA’s concerns were Sergent’s failure to begin cooling coil
installation until January 8, 2021, “[i]nadequate quality standards,” improper coil
installation, and other “[s]afety concerns.” Id. The VA directed Sergent to provide an
“[u]pdated complete project schedule which clearly shows the project critical path, as
well as a 3-week lookahead plan,” “[d]ocumentation for all work completed,” and sought
assurances that Sergent would adhere to procedures and protocols. Id. at 1661-62.

        On February 26, 2021, Sergent responded to the government’s cure notice with a
“3 Week Look Ahead,” and a litany of issues Sergent considered responsible for the
delays. Sergent blamed the delays on “contract ambiguities, errors, and omissions” and
which “were not addressed by the VA . . . and have not been resolved as of today.” Pl.
App’x at 1672. Sergent also presented a new schedule that included a 192-day delay that
it claimed the VA caused. Pl. App’x at 1668-71.

       On March 16, 2021, the VA issued Sergent a notice to show cause why the
government should not terminate Sergent’s contract for default. Pl. App’x at 1682-84.
The notice described how Sergent had “failed to cure” the defects in performance,
including a coil-installation schedule that “still exceeds the contract specification
requirements,” ACU outage schedules that “caused the VA to [have to] intercede,” and
persistent “[u]napproved materials” onsite. Id.

       On March 22, 2021, Sergent requested a schedule deviation, which noted that “we
may have to wait until October 2021 to fully replace all the cooling coils.” Pl. App’x at
1686. On March 26, 2021, Sergent responded to the notice to show cause, Pl. App’x at
1689-1702, arguing that “Sergent is in compliance with the Contract’s requirements, and
any potential non-compliance (i.e., related to the delays Sergent has experienced on the
project, to date) is due to the VA’s own actions or inactions.” Id. at 1692. Sergent once
again presented a schedule, this time showing a completion date of December 9, 2021, or
114 days after the original completion date. Def. App’x (Vol. II) at 507-09. 8

       Five days later, on March 31, 2021, the VA terminated Sergent’s contract for
default. Pl. App’x at 1711. At the time of termination, the VA had paid Sergent


8 Though Sergent does not appear to have included in its appendix the schedule it submitted on

March 26, 2021, Sergent’s counsel acknowledged at oral argument that Sergent anticipated 114
days of delay as compared to the original required completion date. See Tr. 7:23-8:1, 24:14-15.


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$462,410.68, Compl. ¶ 88, with Sergent having invoiced another $533,154.78 yet to be
paid. Pl. App’x at 1705.

        On April 5, 2021, the VA sent a notice to Berkley Insurance Company, which was
acting as Sergent’s surety, requesting that Berkley “provide notice as to whether [Berkley]
plans to provide a proposed surety takeover agreement[.]” Pl. App’x at 1713-14. On
April 6, 2021, Berkley acknowledged receipt of the request, id. at 1750-51, and on July 29,
2021, Berkley instructed Sergent to be “on notice of an anticipated bond loss in relation
to the termination of Sergent for default . . . that will trigger [Sergent’s] obligations under
the [General Agreement of Indemnity].” Id. at 1752-53. Berkley demanded $2.81 million
in collateral, id. at 1755, which Sergent paid. Id. at 1757. Berkley agreed to provide a
substitute contractor to the government to complete the remaining work under the
original contract for $6,237,953.95. Id. at 1758. On July 17, 2023, Berkley returned
$214,413.94 of the $2.81 million collateral payment to Sergent. Id. at 1770.

II.    Procedural History

       On August 12, 2021, Sergent filed a complaint against the United States, pursuant
to the CDA, 41 U.S.C. §§ 7101 et seq. ECF No. 1. On that same day, Sergent filed a Motion
for a Temporary Restraining Order/Preliminary Injunction. See ECF No. 6 at 18.
Specifically, Sergent requested that

              this Court enjoin the VA from: (1) executing a completion
              contract for any remaining work under the terminated
              contract; (2) authorizing the performance of any work under
              any completion contract that has already been executed; and
              (3) noticing other federal procuring agencies, contracting
              officers, or other government officials of the contested
              termination for default . . . via the government’s various
              evaluation reporting tools.

Sergent’s Mech. Sys., Inc. v. United States, 157 Fed. Cl. 41, 45 (2021) (internal quotations and
brackets omitted).

       On August 19, 2021, the Court denied Sergent’s motion, explaining “the plain
language of §1491(a)(2) does not authorize this Court to issue injunctive relief in CDA
cases, and particularly not preliminary injunctive relief.” Sergent’s Mech. Sys., Inc. v.
United States, 155 Fed. Cl. 146, 148 (2021). 9




9 Further, the Court concluded that “[n]owhere in the complaint does Sergent contend that these

allegations involve a challenge to a pending procurement or to a contract award sufficient to

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       On August 24, 2021, Sergent filed an amended complaint, “reiterating the same
claims and the same jurisdictional basis for them (and reflecting apparently only minor
corrections).” 157 Fed. Cl. at 45. The amended complaint primarily seeks money
damages, “as well as declaratory relief unrelated to [Sergent’s] request for preliminary
equitable relief.” Id. (quoting Compl. at 19).

       On August 27, 2021, Sergent filed a motion requesting certification of its denial of
Sergent’s motion for injunctive relief for an interlocutory appeal to the United States
Court of Appeals for the Federal Circuit. ECF No. 13-1. The Court ruled that Sergent’s
motion for certification was unnecessary, but treated it as a motion to reconsider pursuant
to Rule 54(b) of the Rules of the United States Court of Federal Claims (“RCFC”). After
the parties’ briefing, the Court again ruled in favor of the government:

               The issue before the Court is straightforward: whether the
               United States Court of Federal Claims can grant preliminary
               injunctive relief where Plaintiff asserts only a [CDA] claim
               pursuant to 28 U.S.C. § 1491(a). The Court once again
               answers that question in the negative — and it is not a close
               call.

157 Fed. Cl. at 45.

       On November 24, 2021, the government filed a partial motion to dismiss Count IV
of Sergent’s amended complaint for lack of jurisdiction pursuant to RCFC 12(b)(1). ECF
No. 23. Count IV sought a declaratory judgment, “finding that the VA did fail to comply
with applicable OSHA regulations,” but did not request any monetary relief. Compl. ¶ 6.
The Court granted the motion to dismiss, as the Court does not have jurisdiction over
non-money mandating claims that the government violated OSHA regulations and has
no reason to grant a declaratory judgment given that the parties’ dispute is solely
monetary (and does not concern continued performance under the contract). Sergent’s
Mech. Sys., Inc. v. United States, 2022 WL 1123015, at *4 (Fed. Cl. Apr. 14, 2022). The Court
acknowledged, however, that the factual allegations regarding OSHA regulations
contained in the dismissed count could potentially support the other counts (i.e., seeking
a monetary recovery or to excuse default). Id. at *3, *5.

      Following discovery, on January 16, 2024, both parties cross-moved for summary
judgment as to Counts I, II, and III. On February 13, 2024, the government filed its
response brief, ECF No. 56, and Sergent filed its response-and-reply, ECF No. 57 (“Pl.


invoke this Court’s bid protest jurisdiction pursuant to 28 U.S.C. § 1491(b).” Sergent’s Mech. Sys.,
155 Fed. Cl. at 147.


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Resp.”). Finally, on February 27, 2024, the parties filed their reply briefs. ECF No. 59
(“Def. Repl.”); ECF No. 60 (“Pl. Repl.”). The Court held oral argument on the motions on
June 10, 2024 (“Tr.”).

III.      Jurisdiction and Standards of Review

          A. Jurisdiction

       The Tucker Act provides that “[t]he Court of Federal Claims shall have jurisdiction
to render judgment upon any claim by or against, or dispute with, a contractor arising
under . . . the [CDA], including a dispute concerning termination of a contract, rights in
tangible or intangible property, compliance with cost accounting standards, and other
nonmonetary disputes on which a decision of the contracting officer has been issued
under section 6 of that Act.” 28 U.S.C. § 1491(a)(2). Accordingly, Sergent’s claims are
governed by the CDA. 10 The government does not contest this Court’s jurisdiction to
hear Sergent’s claims. 11

          B. CDA

       An action brought in this Court pursuant to the CDA “shall proceed de novo.” 41
U.S.C. § 7104(b)(4). With the Court engaged in its own assessment of the facts and legal
determinations, “once an action is brought following a contracting officer’s decision, the
parties start in court or before the [Court] with a clean slate.” Wilner v. United States, 24
F.3d 1397, 1401-02 (Fed. Cir. 1994) (en banc) (citations omitted); Dep’t of Transportation v.
Eagle Peak Rock & Paving, Inc., 69 F.4th 1367, 1375 (Fed. Cir. 2023) (noting the CDA’s
express provision “that if a contractor challenges that decision in the Court of Federal
Claims . . . the action ‘shall proceed de novo’ under the court’s rules.”) (quoting 41 U.S.C.
§ 7104(b)(4)).

          C. Summary Judgment

       Summary judgment is appropriate when there is no genuine issue of material fact
and the moving party is entitled to a judgment as a matter of law. RCFC 56(a); Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). A fact is material if it “might affect the outcome
of the suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
(1986). An issue is genuine if it “may reasonably be resolved in favor of either
party.” Id. at 250. “When both parties move for summary judgment, the court must
evaluate each motion on its own merits, resolving reasonable inferences against the party


10 Pub. L. No. 95-563, 92 Stat. 2383 (1978) (codified at 41 U.S.C. §§ 7101–7109).

11 As noted supra, the Court dismissed Count IV for lack of jurisdiction on April 14, 2022.   ECF
No. 29.


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whose motion is under consideration.” Silver State Land LLC v. United States, 155 Fed. Cl.
209, 212 (2021) (quoting First Commerce Corp. v. United States, 335 F.3d 1373, 1379 (Fed.
Cir. 2003)); see also Lippmann v. United States, 127 Fed. Cl. 238, 244 (2016) (“The [RCFC 56]
standard also applies when the Court considers cross-motions for summary judgment.”).

       D. Termination for Default

        “When a contractor challenges a default termination, the government bears the
burden of establishing the validity of the termination.” Emiabata v. United States, 792 F.
App’x 931, 937 (Fed. Cir. 2019); see also Johnson Mgmt. Grp. CFC, Inc. v. Martinez, 308 F.3d
1245, 1249 (Fed. Cir. 2002) (“The government bears the burden of proof in establishing
the validity of a default termination.”); Lisbon Contractors, Inc. v. United States, 828 F.2d
759, 765 (Fed. Cir. 1987) (“[T]he government should bear the burden of proof with respect
to the issue of whether termination for default was justified[.]”).

        “Once default has been proven, the contractor bears the burden of establishing
that the default was excused by fault of the government.” Emiabata, 792 F. App’x at 937;
see also McDonnell Douglas Corp. v. United States, 567 F.3d 1340, 1353 (Fed. Cir. 2009)
(holding that once “the government has satisfied its burden to justify the default
termination . . . the contractors have the burden of going forward to prove either that they
were making progress such that timely completion of the contract was not endangered
or that there was excusable delay”) vacated on other grounds by Gen. Dynamics Corp. v.
United States, 563 U.S. 478 (2011).

        “Failure to meet contract specifications and inability to meet the contract delivery
schedule are of course relevant considerations to whether a contractor is in default.”
McDonnell Douglas Corp, 182 F.3d at 1328; see also id. at 1016 (holding that government is
allowed to terminate contracts for default when it reasonably believes that there is no
reasonable likelihood the contractor can perform the entire project in the allotted time);
Discount Co. v. United States, 213 Ct. Cl. 567, 554 F.2d 435, 441 (1977) (inability to meet
specifications); Universal Fiberglass Corp. v. United States, 210 Ct. Cl. 206, 537 F.2d 393, 398
(1976) (failure to meet schedule); Aptus Co. v. United States, 61 Fed. Cl. 638, 660-61 (2004)
(failure to reassure government of timely performance after notice to show cause,
resulting in termination for default), aff’d sub nom. Lin v. United States, 159 F. App’x 186
(Fed. Cir. 2005). Moreover, there is “a requirement that the contractor give reasonable
assurances of performance in response to a validly issued cure notice.” Danzig v. AEC
Corp., 224 F.3d 1333, 1337-38 (Fed. Cir. 2000); see generally John Cibinic, Jr. & Ralph C.
Nash, Jr., Administration of Government Contracts 929–35 (3d ed. 1995) (discussing
default termination based on failure to make progress); id. at 953–60 (discussing
anticipatory repudiation by a contractor, such as “nonperformance and claims for
payments or relief from matters as to which the contractor had assumed the risk”).




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       In this case, neither party argues that there are material disputes of fact. The
question whether the government’s termination of Sergent for default was proper or
whether the underlying default was excused thus reduces to a question of law and is
properly adjudicated at this stage. RCFC 56.

IV.    Discussion: The Government is Entitled to Summary Judgment on all Counts

       A. Count I: Sergent’s Delay was Not Excusable

        Sergent’s motion for summary judgment fundamentally rests on its contention
that its termination for default was improper. While Sergent at first styled its argument
as one challenging the “nexus between the government’s decision to terminate for default
and the contractor’s performance,” Sergent MSJ at 20 (quoting Bowles v. United States, 144
Fed. Cl. 240, 252 (2019)), it is better understood as an argument that Sergent’s untimely
performance was excused due to government actions. See id. at 22 (“Both reasons [for
termination for default] are improper as they are not connected to Sergent’s performance
under the Contract but are instead related to the VA’s own failures and imposition of extra-
contractual restrictions[.]” (emphasis added)); see also Tr. 4:20-25 (“THE COURT: Okay. So
it really comes down to whether or not the delay that’s reflected on the contract schedule
is excusable, right, because otherwise it’s either a repudiation or anticipatory breach or
something like that. [Sergent’s Counsel]: That’s correct.”). Moreover, there is no dispute
that the schedules Sergent submitted after the cure notice only indicated completion dates
after the contractual completion date. See Tr. 4:17-19 (Sergent’s counsel agreeing that the
schedules it submitted “reflect[ed] the conclusion date that was after the contract
deadline”); Pl. MSJ at 23-24 (Sergent discussing its work schedules “accounting for
government-caused project delays”); Def. MSJ at 13.

       Indeed, both parties agreed that “this comes down to whether or not Plaintiff can
show that there was excusable delay.” Tr. 5:19-20; see also Tr. 4:20-25, 5:21. The Court
therefore concludes that “the government has met [its] burden of proving that timely
performance is beyond [Sergent’s] reach,” and thus that Sergent “has the burden of going
forward to prove … that there was excusable delay.” McDonnell Douglas, 567 F.3d at 1353.

       To meet that burden, Sergent offers several explanations in arguing that its delays
were excusable. First, Sergent asserts that its failure to install cooling coils in a timely
fashion was due to the government’s failure to “determine the presence of, quantify, or
locate ACM within the relevant work areas” as required by the contract. Pl. MSJ at 24-
28. Notably, Sergent concedes that only the asbestos argument could account for the full
extent of its delay that, as reflected in the schedule, prompted the government to
terminate the contract for default. Tr. 7:24-8:1 (“We concede that if we can’t establish the
delay related to asbestos that the other claims of delay would not add up to 114 days.”).
Therefore, to prevail on Count I, the government must show only that Sergent is wrong
about the asbestos issue. Tr. 40:12-13 (Sergent’s counsel confirming that “excusable


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delay, the whole thing, turns on the asbestos” issue). Second, Sergent maintains that at
least some part of the delay was attributable to contradictions in the government-
provided contract drawings and specifications related to the cooling coils. Pl. MSJ at 28-
32. Third, Sergent argues that the government improperly imposed restrictions on ACU
outages beyond those allowed by the contract, thus impeding Sergent from completing
work that required longer and/or more frequent ACU outages. Id. at 32-33. Because
Sergent lacked contractual discretion to schedule ACU outages for whenever it wished,
Sergent blames the government for Sergent’s delayed performance. The Court rejects
each of these arguments.

       1. Sergent was responsible for abating asbestos

         Under the terms of the contract, the VA had two primary responsibilities with
regard to asbestos: (1) to “[n]otify occupants adjacent to regulated areas of project dates
and requirements for relocation”; and (2) to submit to Sergent results of various tests,
samplings, and analyses. 12 Pl. App’x at 651. But Sergent, not the VA, was required to
abate the asbestos, among many other contractual responsibilities. Id. at 649. Sergent
admits that the written terms of the contract, executed in August 2020, gave Sergent such
responsibility, but argues that the VA “became the abatement contractor as early as
December 2020” for a contract executed in August 2020. Pl. Repl. at 5 (emphasis added).
As that quotation implies, Sergent posits that although it originally had contractual
responsibility for locating and clearing asbestos, that obligation somehow transferred
back to the VA during Sergent’s contract performance. Moreover, “as early as” suggests
Sergent doesn’t know exactly when that transfer of responsibility occurred, a lack of
specificity that undercuts Sergent’s contention. Indeed, Sergent’s argument fails for the
very simple reason that there is no evidence to support it. Sergent does not point to any
contract modification or other legal basis supporting a transfer of contractual duties back
to the government. Moreover, the government cannot be the “abatement contractor” to
itself; that is simply a nonsensical assertion.

       Sergent’s arguments become more convoluted from there. One version of
Sergent’s position is that the contract incorporated 29 C.F.R. § 1926.1101, an OSHA
regulation which allocates responsibility for identifying specific locations and quantities
of asbestos to building-owners rather than contractors. Sergent asserts that the regulation
in turn “prohibited Sergent from commencing work in the Bay Pines Facility until all
asbestos was quantified and located.” Pl. Repl. at 4 (citing 9 C.F.R. § 1926.1101(k)(2)(i)).
Sergent also contends that the VA could not fully offload its asbestos-related OSHA
obligations by contract “because (1) there is no provision within 29 C.F.R. § 1926.1101 that


12 This section included the disclaimer that “information” submitted to the contractor, Sergent,

under this clause “shall not release the Contractor from any responsibility for OSHA
compliance.” Pl. App’x at 651.


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permits a building owner to contractually absolve itself of its asbestos-related
responsibilities and (2) contract language that a contractor ‘shall satisfy’ himself as to the
actual quantities of asbestos necessary to abate is not, and cannot be, read as a contractual
assignment of responsibility.” Pl. MSJ at 27; see also Tr. 11:17-24. Sergent cites no
authority for these assertions, and they are critically undermined by Sergent’s admission
that the VA can delegate responsibility for dealing with asbestos as long as the
government “clearly disclaim[s]” responsibility. Tr. at 11:2.

        While the government does not marshal specific affirmative support for the
commonsense proposition that it may, via contract, assign asbestos-related obligations to
a contractor, the government does point to other regulations incorporated by reference
that buttress its position. For example, the contract incorporates FAR 52.236-7, requiring
Sergent to “comply[] with any Federal, State, and municipal laws, codes, and regulations
applicable to the performance of the work.” Pl. App’x at 41. Furthermore, the contract,
in its introduction to asbestos-abatement responsibilities, requires that “[t]he Contractor
shall satisfy himself as to the actual quantities to be abated,” the necessary implication of
which is that Sergent bore the responsibility for assessing and abating asbestos. Id. at 639
(emphasis added).

        Sergent’s attempt to wriggle out of the plain meaning of the contract amounts to
little more than conclusory statements unsupported by law. Sergent cites no source of
law providing that the VA is restricted from contracting out its asbestos-related OSHA
obligations. Indeed, the most natural understanding of any OSHA rule (e.g., 29 C.F.R. §
1926.1101) making a building-owner responsible for identifying the location and amount
of asbestos is that the rule addresses who has the responsibility for ensuring the
remediation, not for actually performing the remediation. The absurdity of Sergent’s
interpretation of 29 C.F.R. § 1926, which would prohibit building owners from hiring a
remediation contractor, is confirmed by Sergent’s admission that “individual VA
employees” need not “go out, test -- sample, test, and identify asbestos.” Tr. 11:3-5. The
obvious meaning of the regulation is that while a building-owner is responsible under
the law for addressing the asbestos, it may do so by hiring a contractor. For Sergent to
be correct, in contrast, every building owner with an asbestos problem must itself have
expertise in asbestos remediation. That cannot be correct and, indeed, Sergent provides
no authority for such a rule. Absent clear (or, in this case, any) legal authority to the
contrary, the Court concludes that the VA may contract away the responsibility for
addressing the asbestos in its buildings and, having done so here, terminate Sergent for
default for failing to fulfill its contractual asbestos remediation duties.

       Sergent also advances the incompatible narrative that the VA, in verbal
discussions, somehow either took on the contractual responsibility of asbestos abatement
that Sergent originally had, or somehow led Sergent to believe that the VA would assist
Sergent with asbestos abatement. Pl. Repl. at 5 (arguing that the VA “became the
abatement contractor as early as December 2020, when it declined Sergent’s offer to abate


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the additional asbestos identified in the December 8, 2020 asbestos report . . . and
subsequently agreed to abate asbestos itself”); see also Tr. 19:16-24 (Sergent’s counsel
asserting, without support, that Sergent was “led to believe that [it] would not have to
meet this deadline because [the VA was] handling it. They stepped in and they said we’ll
take care of this part of the work and relieve you of it.”). But this argument is
fundamentally inconsistent with Sergent’s position that the government could not
relinquish such responsibility to begin with. See Pl. MSJ at 24.

       Moreover, for Sergent to argue that it transferred some or all of its asbestos-related
obligations back to the government, Sergent would have to provide evidence of a written
modification to that contract, including consideration. See FAR 2.101 (“Contract means a
mutually binding legal relationship obligating the seller to furnish the supplies or
services (including construction) and the buyer to pay for them. It includes all types of
commitments that obligate the Government to an expenditure of appropriated funds and
that, except as otherwise authorized, are in writing. . . contracts include . . . bilateral
contract modifications.” (emphasis added)); Alaska Am. Lumber Co. v. United States, 25 Cl.
Ct. 518, 532 (1992) (“In order to be enforceable, however, every modification to a contract
must be supported by consideration.”); Keeter Trading Co. v. United States, 85 Fed. Cl. 613,
629 (2009) (“Numerous decisions of this court’s predecessor, the United States Court of
Claims, have echoed the above principle — that a contract modification must be
supported by consideration. A lack of consideration will render the contract modification
void, or without force or effect.”). 13

        Where, then, is the evidence of a modification to the contract, including
consideration? See Mil-Spec Contractors, Inc. v. United States, 835 F.2d 865, 867 (Fed. Cir.
1987) (“Unless and until there was a binding modification to which both Mil–Spec and
the contracting officer had agreed in writing, there could not be a binding modification
of the contract.”). It does not exist. Sergent’s only evidence supporting the notion that
something changed the parties’ responsibilities is Sergent’s own notes from a January 14,
2021, meeting showing that its representatives believed the “VA will abate all remaining
asbestos pipe insulation.” Pl. App’x at 1649. Sergent provides no evidence of any written
modification or any details regarding the rest of the modified contract, or any indication
that the parties achieved a meeting of the minds to modify the written contract so as to
shift asbestos-related responsibilities to the government or to otherwise relieve Sergent
of any contractual obligations. The Court can only conclude, as a matter of law, that no

13 Sergent cannot rely upon its existing contractual duties as constituting consideration.      See
Gardiner, Kamya & Assocs., P.C. v. Jackson, 369 F.3d 1318, 1322 (Fed. Cir. 2004) (“Performance of a
pre-existing legal duty is not consideration.”) (citing Restatement (Second) of Contracts § 73
(1981)); see also 17A Am. Jur. 2d Contracts § 147 (agreeing to do work that is already done, i.e.
“past consideration,” is not consideration). Sergent also does not point to any additional work it
took on as part of the putative modification, nor does Sergent argue that the government received
some tangible financial benefit.


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such modification exists. See First Crystal Park Assocs. Ltd. P’ship v. United States, 130 Fed.
Cl. 260, 272 (2017) (government contractor’s failing to show “evidence that a contracting
officer (or any other official with contracting authority) had knowledge of any
subsequent lease modification or new lease[,]” led the Court to conclude that the parties
“never entered an enforceable agreement to modify the existing lease or enter a new
lease”). The government’s oral statement simply does not suffice. See Bullock v. United
States, 10 F.4th 1317, 1323 (Fed. Cir. 2021) (“[I]n the government procurement contract
context, where a preexisting written contract is governed by regulations that require a
writing to modify the agreement, oral modifications in the form of contract dispute
settlements are unenforceable[.]”); FAR 2.101 (requiring that a bilateral contract
modification be “in writing”).

       Nor does Sergent provide evidence plausibly supporting a theory of estoppel,
even assuming the government could be bound by a VA representative’s assuring
Sergent that, notwithstanding the written contract, the VA would abate all asbestos. To
be clear, this is not a theory Sergent even advances. But even if it had, there is no record
evidence before the Court demonstrating that someone from the VA, with actual
authority to make a promise altering contractual obligations, did so. See American Electric
Laboratories, Inc. v. United States, 774 F.2d 1110, 1113 (Fed. Cir. 1985). Sergent has not
established that any of the individuals with whom it discussed asbestos-abatement “had
actual or implied authority to agree to modify the contract” nor did Sergent “tender
genuine issues of material fact that would, as a matter of law, support that conclusion.”
P & K Contracting, Inc. v. United States, 108 Fed. Cl. 380, 390 (2012), aff’d, 534 F. App’x 1000
(Fed. Cir. 2013); see also Winter v. Cath–dr/Balti Joint Venture, 497 F.3d 1339, 1344 (Fed. Cir.
2007) (“Where a party contracts with the government, apparent authority of the
government’s agent to modify the contract is not sufficient[;] an agent must have actual
authority to bind the government.”). Altogether, there is not the slightest indication that
anyone from the VA promised a change in the allocation of asbestos-abatement
responsibility or believed they were providing such relief to Sergent.

         Sergent also does not offer any cogent legal argument to make sense of its assertion
that the VA somehow “became the abatement contractor” well before the January 14,
2021, meeting, when the VA allegedly “declined Sergent’s offer to abate the additional
asbestos identified in the December 8, 2020, asbestos report . . . and subsequently agreed
to abate asbestos itself.” Pl. Repl. at 5 (emphasis added). Sergent, as the “party alleging
the existence of a contract[,] has the burden of demonstrating ‘a mutual intent to contract
including an offer, an acceptance, and consideration.’” Harbert/Lummus Agrifuels Projects
v. United States, 142 F.3d 1429, 1434 (Fed. Cir. 1998) (quoting Trauma Serv. Group v. United
States, 104 F.3d 1321, 1325 (Fed. Cir. 1997)). But Sergent does not explain, and the Court
is left unsure, when or by what legal mechanism the government “became” a contractor.

      Again, there is simply no evidence that the VA agreed to assume any of Sergent’s
contractual duties. The fact that the VA may have stepped in, to some extent, to help


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Sergent complete its work that was behind schedule, Pl. App’x at 1472, does not absolve
Sergent of its contractual responsibilities, nor does it create a new contract between the
VA and itself. Having offered no evidence that the parties effected a change to the
original contract — or even a legal theory explaining how the government’s behavior
could plausibly amount to such a change — Sergent effectively asks the Court to
reinterpret the contract in light of a bare assertion. The Court rejects Sergent’s attempt to
avoid its contractual obligations by positing the existence of a phantom modification.

       To the contrary, as the government correctly argues, if Sergent thought the VA
was not upholding its end of the bargain under the contract, Sergent could have
“conduct[ed] any required testing itself; perform[ed] any abatement that needed to be
done, based on the results of the testing; and submit[ed] a claim to VA for any work that
exceeded the contract’s requirements.” Def. Repl. at 6 (citing FAR 52.233-1). Instead,
Sergent chose to wait, failed to make progress, blew the contractual deadline, was
terminated for default, and then filed a CDA claim and sued. But that is precisely what
a contractor may not do. A government contractor cannot disregard the government’s
directives under the FAR’s changes and disputes clauses and then fail to make progress
on the required work. That rule was settled long ago. See Alliant Techsystems, Inc. v.
United States, 178 F.3d 1260, 1266 (Fed. Cir. 1999) (“Holding that the court may address [a
plaintiff’s] challenge to the contracting officer’s order to perform the option does not free
[the plaintiff] from its obligation under the disputes clause to perform the option as
directed pending a favorable decision from the court. That obligation continues.”).

        In sum, Sergent has not proved that Section 1.5.2 of the Asbestos Abatement
Agreement is inoperative. Again, that section provides that “[t]he Asbestos Abatement
Contractor” — which is Sergent 14 — “shall assume full responsibility and liability for
compliance with all applicable . . . regulations related to any and all aspects of the
asbestos abatement project.” Pl. App’x at 649. And because Sergent has not shown that
its failure to remediate asbestos in a timely fashion was excused or excusable, Sergent
cannot prevail on its asbestos argument generally. Rather, Sergent is responsible for the
full extent of its delay, and consequently for failing to respond adequately to the VA’s
demands for assurances that the work would be completed on time. See Danzig, 224 F.3d
at 1337-38 (“[A]nticipatory repudiation includes cases in which reasonable grounds
support the obligee’s belief that the obligor will breach the contract. In that setting, the
obligee ‘may demand adequate assurance of due performance’ and if the obligor does
not give such assurances, the obligee may treat the failure to do so as a repudiation of the
contract.” (quoting Restatement (Second) of Contracts § 251 (1981))). Sergent’s responses to
the cure notice and show cause order “affirmatively asserted” that Sergent “could not
complete the project without additional time,” amounting to an “anticipatory
repudiation” that “alone provides sufficient justification for termination of the contract.”


14 The government does not refer to itself as a contractor.   FAR 2.101.


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Hubsch Industrieanlagen Spezialbau, GmbH v. United States, 116 F.3d 1497 at *4 (Fed. Cir.
1997). Sergent cannot prevail on its theory of excusable delay, and accordingly fails in its
challenge to the government’s default termination.

       Though this analysis suffices to dispose of Count I entirely in the government’s
favor, the Court nevertheless addresses Sergent’s other allegations within that count.

       2. Sergent is responsible for delays relating to cooling coils

       Sergent alleges that “[d]elays related to . . . the VA’s demand for larger capacity
cooling coils than what was called for in the Contract specifications” are “attributable to
the VA,” and that therefore Sergent’s default should be excused. Compl. ¶ 103. More
specifically, Sergent argues that the contract contained “inherently contradictory
information” regarding the cooling coil dimensions and tube-diameter measurements, as
some specifications appeared to require half-inch tube diameters while others explicitly
required 5/8-inch diameters. Pl. MSJ at 29. Sergent maintains that the alleged
discrepancy was responsible for Sergent’s performance delays. Pl. MSJ at 30 (“Thus, a
32-day Contract delay resulted due to the above-described information within the
Drawings and Specifications.”).

        As an initial matter, Sergent misinterprets the contract’s provisions governing
cooling coils, much as the VA contracting officer described in his denial of Sergent’s REA.
Pl. App’x at 1455. The contract’s plain language required Sergent to “measure existing
cooling coils in existing air handling units and provide replacement coils with the
scheduled performance and specified construction,” and further directed Sergent to
“Section 23 82 16” which contained the 5/8-inch diameter requirements. Id. at 885-86.
Sergent seems to have confused the requirement to measure existing coils and provide
replacements of different specifications with a requirement to provide replacements that
replicate the existing coils. But nowhere does the contract direct Sergent to replicate the
existing coils.

       Though Sergent repeatedly pointed to “Section 23 73 00” as a source of conflicting
information, see Pl. App’x at 1074, 1083, 1092-93; Pl. MSJ at 29-31, that contract
specification section does not provide any specific diameter for cooling coils. Pl. App’x
at 885-87. Its only direction arguably specifying a diameter requirement is its instruction
that Sergent should: (1) “[r]efer to Drawings and Section 23 82 16, AIR COILS for
additional coil requirements”; and (2) review “Section 23 82 16, AIR COILS: Heating and
cooling coils and pressure requirements.” Id. at 885-86. And, fatally for Sergent, Section
23 82 16 clearly specifies cooling-coil tubes of 5/8-inch diameter. Id. at 1056 (“Tubes:
Minimum 16 mm (0.625 inch) tube diameter[.]”).

       After a clear section break, Pl. App’x at 887 (“- - - END - -” followed by a page
break), the contract did include an addendum of data sheets from more than a decade


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ago. Some of those data sheets did reflect half-inch diameter tubes. See id. at 963-1053.
But they are for informational purposes only (i.e., regarding existing conditions); they do
not contain any instructions directing Sergent to use those measurements in performing
the contract. 15

       The Court disagrees with Sergent’s contention that there is a latent ambiguity in
the contract because the operative language with the 5/8-inch requirement is “a hard
thing to find. It’s a needle in a haystack.” Tr. 26:6-7. Section 23 73 00, which deals with
air-handling units, is a little longer than two pages, and matches the other contract
sections in layout and style, with a clear beginning and clear end. Given that it twice
directs Sergent’s attention to specification Section 23 82 16, it is hardly ambiguous in its
requirements.

        As a secondary matter, Sergent’s factual allegations do not provide a viable theory
of excusable delay. Sergent asserts in its complaint that “[r]esolution of the cooling coil
tube size discrepancy delayed Sergent’s performance under the Contract by 32 days.”
Compl. ¶ 36. Even if Sergent could show that the contract was, in fact, “erroneous,
meaning that Sergent was left to choose . . . which information applied during its bidding
and initial procurement decisions,” Pl. MSJ at 30, Sergent does not explain why this led
to delay rather than mere increased costs. Sergent’s REA, Pl. App’x at 1090-96, indicates
that Sergent faced additional costs after procuring two sets of tubes and coils when it
expected to procure only one. But if this Court is going to conclude, as Sergent urges,
that there was also a “32-day delay stemming from the cooling coil capacity and tubing
size issue,” id. at 32, Sergent needs some inkling of a causal theory to go on. How did
these issues cause or at least contribute to delays? Even now, at the summary judgment
stage, Sergent has yet to provide an explanation of how its confusion over its precise
contractual responsibilities regarding the cooling coils (even if it were justifiable
confusion) gave rise to not just increased cost but extended time needed to complete the
contract.

      Even if the Court conjured an explanation on Sergent’s behalf, Sergent has
provided no evidence that would connect the problem to a 32-day delay. Failing to
provide evidence to support an essential element of a claim is fatal at the summary
judgment stage. See Celotex, 477 U.S. at 325 (explaining that “the burden on the moving
party may be discharged by showing . . . that there is an absence of evidence to support
the nonmoving party’s case”) (internal quotations omitted); see also Exigent Tech., Inc. v.
Atrana Sols., Inc., 442 F.3d 1301, 1308 (Fed. Cir. 2006) (upholding district court’s grant of
summary judgment for Atrana based on Exigent’s admission that it had offered no


15 Section 23 73 00 contained instructions to measure existing units and repair them; the data-

sheets addendum provided significant additional information about those existing units to aid in
those processes.


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relevant evidence as part of the summary judgment record); Demodulation, Inc. v. United
States, 118 Fed. Cl. 69, 74 (2014) (“However, where the nonmovant bears the burden of
proof at trial, the movant can satisfy its burden at the summary judgment stage by
identifying an absence of evidence supporting an essential element of the nonmovant’s
case.” (citing Celotex, 477 U.S. at 322-23)).

        Moreover, even to the extent that the Court is willing to infer that some delay is
inherent in a confused back-and-forth between the parties, Sergent has not provided any
critical path method (“CPM”) analysis. See Blinderman Const. Co. v. United States, 39 Fed.
Cl. 529, 585 (1997), aff’d, 178 F.3d 1307 (Fed. Cir. 1998) (explaining that “the only way to
accurately assess the effect of the delays alleged . . . is to contrast updated CPM schedules
prepared immediately before and immediately after each purported delay”). Absent any
analysis of how specific events resulted in specific delays according to reliable
methodology — let alone a CPM analysis — this Court cannot credit Sergent’s bare
assertion that its confusion over coils and tubes resulted in anything more than negligible
hassle that Sergent could have overcome all along, albeit, perhaps, at increased cost. As
the Federal Circuit has explained, “[t]he required nexus between the government delay
and a contractor’s failure to complete performance at some unspecified earlier date
cannot be shown merely by hypothetical, after-the-fact projection.” Interstate Gen. Gov’t
Contractors, Inc. v. West, 12 F.3d 1053, 1060 (Fed. Cir. 1993).

      Altogether, Sergent cannot rely on the cooling-coil issue to account for its delay
and thereby excuse its default.

       3. The contract permitted the VA to impose limitations on ACU outages

       Sergent alleges that the VA’s “limitation on the duration and number of utility
outages caused delays to Sergent’s Contract performance,” Compl. ¶ 47, but Sergent
neither provides a CPM analysis nor makes any attempt to quantify that delay or a to
connect all the dots in its case. Sergent concedes, however, that delays related to ACU
outages are subsumed within the asbestos-remediation issue and thus does not provide
an independent source of excusable delay sufficient to negate Sergent’s default. Tr. 39:23-
24 (Sergent’s counsel reiterating that “if the asbestos remediation is found against us that
nothing else will cover it”).

       Even putting that fatal flaw in its position aside, Sergent’s argument flounders
further on the merits. The contract required Sergent to have a plan in advance of
performing the work that would account for the kinds of challenges the parties expected
to be present at a VA hospital, and gave Sergent significant responsibility to deal with
those obstacles. Specifically, among other obligations, Sergent had to:

              [p]rovide temporary facilities, labor, materials, equipment,
              connections, and utilities to assure uninterrupted services.


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              Where necessary to cut existing water, steam, gases, sewer or
              air pipes, or conduits, wires, cables, etc. of utility services or
              of fire protection systems and communications systems
              (including telephone), they shall be cut and capped at suitable
              places where shown; or, in absence of such indication, where
              directed by [the contracting office representative].

Pl. App’x at 503. The VA, however, maintained significant discretion to direct Sergent’s
work plans in various ways. For example, the contract provided that “[n]o utility service
such as water, gas, steam, sewers or electricity, or fire protection systems and
communications systems may be interrupted without prior approval of [the contracting
officer’s representative].” Id.

       Notwithstanding those contractual provisions, Sergent argues that the VA’s
“unilateral imposition of a time restriction on ACU outages four months into Sergent’s
cooling coil performance window delayed Sergent’s progress under the Contract.” Pl.
MSJ at 33. Slightly more specifically, Sergent contends that “the VA made that decision
on its own and in full awareness of its delaying effect on the Contract,” while “the
Contract placed no time-based restrictions on ACU outages,” and therefore “the VA must
bear responsibility for those delays.” Id. at 32-33.

        Sergent provides no legal authority for the proposition that a contractually
authorized restriction “unilaterally developed and implemented” that turns out to delay
the completion of the work is a per se excuse for Sergent’s failure to meet contractual
deadlines. Pl. MSJ at 32. Sergent does not even lay out the legal doctrine it believes
should control the issue. Instead, Sergent relies on an unstated premise that the contract
did not contemplate the possibility of the VA placing limitations on ACU outages, or that
to the extent the contract contemplates ACU outages, the contract prevented the VA from
imposing outage limitations.

        The government counters that the contract language clearly “contemplated that
VA would impose restrictions on outages and retained discretion to deny requests to
proceed at Sergent’s preferred times.” Def. MSJ at 33 (citing the above contract language,
among other provisions). According to the government, the contract does indeed impose
some onerous conditions on Sergent, but Sergent “made a choice when it submitted its
proposal to proceed notwithstanding the risk they might [in]cur—and especially when it
marketed its ability to navigate this fundamental difficulty in the project, and ensured in
its bid that it would be compensated for this difficulty.” Id. at 34. In other words, Sergent
assumed the risk of delays due to outage limitations and the like, and presumably
accounted for it in its proposed price.

      The Court finds that the contract’s allocation of ample discretion to the VA to
approve ACU outages includes by implication the discretion to impose restraints on ACU


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outages. Thus, the contract put the risk of outage limitations on Sergent, which knew
that the VA had wide discretion to reject its ACU-outage proposals. The contractor was
required, among other things: to coordinate interruptions in service with the contracting
office, Pl. App’x at 503; to maintain services at all times, uninterrupted, through
temporary operations nearly regardless of the circumstances, id. at 504; and, crucially, to
seek permission from the VA to execute its interruptions to a variety of HVAC services,
id at 503-04. The VA, meanwhile, clearly had significant discretion to decide how
interruptions would occur so as to cause “least inconvenience to [the] operations of [the]
Medical Center.” Id. The entire section of the contract that forms the basis of this dispute
allocates sweeping responsibility to Sergent and sweeping discretion to the VA. See id. at
497-515 (listing dozens of Sergent’s responsibilities and instances in which Sergent must
defer to the VA or abide by VA’s instructions). In general, Sergent was required to
“[e]xecute work so as to interfere as little as possible with normal functioning of [the]
Medical Center as a whole.” Id. at 501. If the VA determined that that was best
accomplished by telling Sergent in advance that it would reject ACU-outage proposals of
certain lengths or frequencies, that was well within the VA’s power pursuant to the
contract.

       The Court concludes that these provisions support the government’s reading of
the contract. They cannot serve as a basis for excusing Sergent’s delay, and again, are
immaterial in light of the asbestos issue the Court resolved above.

       B. Count II: The Government Fully Compensated Sergent for the Work
          Completed

       Sergent claims nonpayment of invoices totaling $533,154.78. Compl. ¶ 110.

       Undisputed in the record is that the VA had already paid Sergent $462,410.68 for
work completed under this contract. Compl. ¶ 88. Accordingly, and given this Court’s
granting summary judgment for the government on Count I, Sergent, as the breaching
party, would be responsible for putting the government in the same financial position it
would have been in had Sergent properly performed the contract. See S. California Fed.
Sav. & Loan Ass’n. v. United States, 422 F.3d 1319, 1332 (Fed. Cir. 2005) (“The purpose of
damages for breach of contract is generally to put the wronged party in as good a position
as he would have been had the contract been fully performed.”); see also
Restatement (Second) of Contracts § 344 (1981); Tr. 30:19-25 (government’s counsel
explaining “the essential idea” of damages calculation: “the contractor has to pitch in the
extra [money] . . . to make up the difference between what the actual cost is and what the
cost should have been”); Tr. 32:22 (Sergent’s counsel agreeing that that framework
applies here). Sergent and the VA had a contract for $3,889,875.46, so Sergent is liable
for any excess costs to complete the contract. See Pl. App’x at 4, 1752-53 (surety’s
discussion of this issue).



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        The government succinctly summarizes the role performance bonds played in this
case:

              Sergent’s bid included bonds, underwritten by Berkley,
              pursuant to which Berkley agreed to complete performance if
              the contract was terminated for default. Berkley discharged
              this obligation by entering into a tender agreement with VA
              and the completion contractor VDC. The tender agreement
              provides for the contract balance, as of the date Sergent was
              terminated, to be paid to VDC upon satisfactory completion
              of the work required by the tender agreement. Though the
              surety must front the costs of completing the contract, Sergent
              is ultimately responsible for those costs. Pursuant to the
              performance bond, Sergent is liable to Berkley for the costs
              that the surety was required to incur to complete the contract.
              Berkley’s costs, in turn, reflect the difference between the cost
              of VDC completing performance and the amount of the
              contract balance at the time of contract termination, which
              offsets the cost of completing performance. Accordingly,
              when VA agreed to pay the contract balance to VDC upon
              completion of the project, Sergent effectively received a credit
              against Sergent’s debt to the surety.

Def. MSJ at 37-38 (internal citations omitted). Sergent does not dispute that this
arrangement existed. See Tr. 37:8-38:1 (clarifying that Sergent’s only argument concerns
“the value that Sergent received”).

       Berkley provided assurance and security that the contractor will perform as
promised. As explained at oral argument: “Instead of using the contract balance to pay
Sergent, once the contract was terminated, a surety then gets rights to the contract
balance. And the contract balance . . . instead went into the completion contract.” Tr.
28:1-8 (government counsel explaining basic arrangement). The contract balance (the
contract value, minus the already-paid invoices) is therefore $3,427,464.78. Pl. App’x
1752-55.

       The parties do not dispute, and the record demonstrates, that the projected cost to
complete the contract with a new contractor was $6,237,953.00. Pl. App’x at 1755.
Sergent, which was ultimately responsible for the costs of completing the contract, had
to post a bond with Berkley for $2,810,000, the estimated difference between the roughly
$6.2 million to complete the contract and the roughly $3.4 million contract balance. Id.

       The VA entered into a tender agreement with Berkley to pay the contract balance
of $3,427,464.78, Pl. App’x at 1758-72, effectively giving Sergent a credit of $3,427,464.78


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in their future $6,237,953 payment to the surety. It is undisputed that this credit includes
the invoices in question that the VA did not pay to Sergent. Tr. 36:13-17 (“THE COURT:
does that [$]3.4 [million] contract balance include the invoices that weren’t paid or not?
[Government’s counsel]: So the invoices were not paid. If the invoices had been paid,
the contract balance would have been reduced commensurately.”).

       If the court were to grant Sergent’s motion and enter judgment for the VA to pay
Sergent $533,154.78, Sergent would enjoy a double recovery, in the form of the credit it
already received plus this “cash” judgment. That would yield an impermissible double
recovery. See Crooker v. United States, 828 F.3d 1357, 1363 (Fed. Cir. 2016) (citing E.E.O.C.
v. Waffle House, Inc., 534 U.S. 279, 297 (2002)).

        Sergent argues that summary judgment for the VA should be denied because
“Defendant has not proven that Sergent benefitted from payments made to [the third-
party completion contractor].” Pl. Resp. at 27. But the evidence demonstrates that
Sergent has indeed benefitted from the VA payments made to the completion contractor
(via the surety), as Sergent received a credit for all of the VA’s payments. Pl. App’x 1770.
This is a clear benefit to Sergent — a credit on its bill for the completion cost. Id.

       Finally, as discussed at oral argument, Sergent does not attempt to rebut the
contention that if the court were to rule that the contract properly was terminated for
default, then ruling for Sergent on this issue would result in a double recovery. Tr. 36-38.
Instead, Sergeant responded to the issue of double recovery by making the
unsubstantiated and novel allegation that the $6,237,953.00 completion contract cost may
not be accurate:

              [Government’s Counsel:] So at the end of the day, if the
              ruling is the Government breached the contract by not paying
              these invoices, Sergent will both get credit from the surety
              and then will have this extra amount, you know, in damages
              that goes beyond what they would have gotten otherwise. . . .

              THE COURT: That all makes sense to me. What’s Sergent’s
              response to that?

               [Sergent’s Counsel]: I think our response, Your Honor, boils
              down to the value that Sergent received. Sergent had to post
              a bond payment of $2.8 million. I understand that that is
              based on a credit that the Government gave the surety with
              regards to the contract value remaining on the contract.
              However, it’s not clear whether the follow-on contractor
              redid the work that Sergent did, and so is the VA enjoying the
              work that Sergent had already completed on the job and then


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               not having to pay for that work, which is what they invoiced
               for. And, so, at this point, the only value Sergent received as
               far as their obligation –

               THE COURT: That’s the same as contesting that the projected
               cost to complete is [$]6.237 [million].

               [Sergent’s Counsel]: Yes.

               THE COURT: That’s the same thing as saying maybe the
               projected cost to complete should have been lower.

               [Sergent’s Counsel]: Yes, Your Honor.

               THE COURT: Okay, and where is that in your brief? Is that
               somewhere in your brief?

               [Sergent’s Counsel]: That’s a different argument, not in our
               brief, Your Honor.

               THE COURT: . . . [W]hat’s the Government’s response to this
               [$]6.237 [million], just that it’s unrebutted in the record?

               [Government’s counsel]: It’s unrebutted in the record, yes.

Tr. 36:21-38:12.

      “[A]rguments that are not appropriately developed in a party’s briefing may be
deemed waived.” SmartGene, Inc. v. Advanced Biological Laboratories, SA, 555 F. App’x 950,
954 (Fed. Cir. 2014). 16 Sergent’s contention that the cost to complete the project was




16 See also Australian Therapeutic Supplies Pty. Ltd. v. Naked TM, LLC, 965 F.3d 1370, 1379 n.2 (Fed.

Cir. 2020) (noting that arguments made “in passing” are not considered fully developed and
are waived), cert. denied, –– U.S. ––, 142 S. Ct. 82 (2021); Monsanto Co. v. Scruggs, 459 F.3d 1328,
1341 (Fed. Cir. 2006) (concluding that undeveloped arguments are “deemed waived”); Olaplex,
Inc. v. L’Oréal USA, Inc., 855 F. App’x 701, 712 (Fed. Cir. 2021) (“If the record contains more
evidence than [the court] ha[s] identified, [and the parties] ha[ve] not brought such additional
evidence to [the court’s] attention, [the court] need not sift the extensive record for it on [its]
own.”); United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (“A skeletal ‘argument,’ [is] really
nothing more than an assertion, [and] does not preserve a claim[,] [e]specially not when the brief
presents a passel of other arguments . . . Judges are not like pigs, hunting for truffles buried in
briefs.” (citation omitted)); DeJonghe v. City of Dearborn Heights, 2021 WL 4894613, at *8 (E.D. Mich.

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improperly projected at $6.237 million is waived. The completion costs are indeed
unrebutted in the record. Accordingly, there is no legal argument here that would allow
the Court to rule in Sergent’s favor on this count, nor any basis to conclude that there is
a factual dispute over how much the VA paid Sergent or how much, if anything, Sergent
is still owed.

       C. Count III: The VA Did Not Constructively Change the Contract

       Sergent claims that the government improperly required Sergent to spend
additional money out-of-pocket for which Sergent must be compensated. First, Sergent
claims it had to “purchase cooling coils with a higher cooling capacity than those
contemplated in the Contract specifications,” which “is a constructive change to the
Contract’s terms.” Compl. ¶¶ 117-18 (seeking “$88,841.29 in additional costs”). Second,
Sergent alleges that the “limitation on the duration and number of utility outages . . . is a
constructive change to the Contract’s terms” that “caused Sergent to incur $54,043.66 in
labor inefficiency costs.” Id. at ¶¶ 119-20.

        “A constructive change occurs where a contractor performs work beyond the
contract requirements without a formal order, either by an informal order or due to the
fault of the Government.” Int’l Data Prod. Corp. v. United States, 492 F.3d 1317, 1325 (Fed.
Cir. 2007) (citing Miller Elevator Co. v. United States, 30 Fed. Cl. 662, 678 (1994)); see
also Aydin Corp. v. Widnall, 61 F.3d 1571, 1577 (Fed. Cir. 1995) (“Where it requires
a constructive change in a contract, the Government must fairly compensate the
contractor for the costs of the change.”). “There are two basic components to
the constructive change doctrine — the change component and the order/fault
component.” Conner Bros. Const. Co. v. United States, 65 Fed. Cl. 657, 679 (2005). “The
‘change’ component describes work outside of the scope of the contract, while the
‘order/fault’ component describes the reason that the contractor performed the
work.” Id. (citing Miller Elevator Co., 30 Fed. Cl. at 678). A government officer with the
requisite authority must have directed the contractor to perform the additional work. Id.
(citing Calfon Constr., Inc. v. United States, 18 Cl. Ct. 426, 434 (1989)).

        Sergent’s constructive change claims fail for the same reasons as Counts I and II.
As explained supra, the VA did not change the contract’s terms regarding the cooling
coils. To the contrary, Sergent misinterpreted the contract, and incurred additional costs
to remediate its own mistakes. As previously explained, Section 23 73 00 does not
provide any specific diameter for cooling-coil tubes. Pl. App’x at 885-87. Instead, it
directed Sergent to “[r]efer to Drawings and Section 23 82 16, AIR COILS for additional
coil requirements” and to review “Section 23 82 16, AIR COILS: Heating and cooling coils


Oct. 20, 2021) (“Because the Court cannot develop Plaintiff’s arguments sua sponte, Plaintiff’s
challenge is waived.”).


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and pressure requirements.” Id. at 885-86. Following those clear instructions would have
led Sergent to see that Section 23 82 16 specifies cooling-coil tubes of 5/8-inch diameter.
Id. at 1056 (“Tubes: Minimum 16 mm (0.625 inch) tube diameter[.]”). If Sergent had been
more careful, Sergent would have avoided purchasing unnecessary replacement coils
and tubes. The government is not responsible for the cost of those replacement parts and
does not have to cover the $88,841.29 in alleged additional costs.

        Likewise, the VA did not change the contract’s terms regarding ACU-outage
restrictions. As detailed supra, the contract’s terms required Sergent to coordinate
interruptions in service with the contracting officer, while maintaining services at all
times, uninterrupted, through temporary operations nearly regardless of the
circumstances. Pl. App’x at 503 (“No utility service such as water, gas, steam, sewers or
electricity, or fire protection systems and communications systems may be interrupted
without prior approval of [the contracting office representative].”). The contract
provided VA with the discretion to approve outages in the way the VA determined
would cause the “least inconvenience to [the] operations of [the] Medical Center.” Id. at
503-04. Imposing ACU-outage restrictions is not a change to these terms. Notably,
Sergent makes no effort to provide the Court with any evidence that the VA exercised its
discretion unreasonably or contrary to commercial norms. Even accepting that the VA’s
restrictions made Sergent’s work more difficult does not prove that the VA somehow
violated its contract with Sergent or imposed a constructive change. Because the Court
finds that there is no evidence that the government acted inconsistently with the terms of
the contract at issue, Sergent’s constructive changes claims fail.

V.    Conclusion

      For the foregoing reasons, the Court finds that the government is not liable to
Sergent. The Court thus DENIES Sergent’s motion for summary judgment on all three
counts of its complaint and GRANTS the government’s motion for summary judgment
on the same. The Clerk of the Court is directed to enter JUDGMENT for Defendant,
terminating this case.


      IT IS SO ORDERED.

                                                 s/Matthew H. Solomson
                                                 Matthew H. Solomson
                                                 Judge




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